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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________
MIDDLETON,                                :
                  Plaintiff,               :                CIVIL ACTION
                                           :
            v.                             :                No. 09-930
                                           :
ACADEMY COLLECTION SERVICES, INC.,         :
                  Defendant.               :
__________________________________________:


                                            ORDER

       AND NOW, this 22nd day of June, 2009, it having been reported that the issues between

the parties in the above action have been settled and pursuant to Local Rule of Civil Procedure

41.1(b), it is hereby ORDERED that the above action is DISMISSED with prejudice, pursuant

to agreement of counsel without costs.



                                                    BY THE COURT:

                                                    /S/ Mitchell S. Goldberg

                                                    _____________________________

                                                    MITCHELL S. GOLDBERG, J.
